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             EXHIBIT A
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 JAMES WOODS, individually and as
 representatives of the class,

                    Plaintiff,
                                         Case No: 1:18-cv-00929-MHC
       v.
                                         The Honorable Mark H. Cohen
 UBER TECHNOLOGIES, INC.,

                    Defendant.

        ORDER GRANTING CONSENT FOR EXTENSION OF TIME
       Plaintiff James Woods and Defendant Uber Technologies, Inc. (“Uber”)

 move the Court for an extension of time for Uber to answer or otherwise respond

 to Plaintiff’s Complaint.

       Having considered the Parties’ joint motion, and for good and sufficient

 cause shown, IT IS HEREBY ORDERED the deadline for Uber to answer or

 otherwise respond to Plaintiff’s Complaint is extended up to and including

 Monday, April 30, 2018.

       SO ORDERED this _____ day of _____________, 2018.


                                   ____________________________________
                                   Mark H. Cohen
                                   United States District Court Judge
                                   Northern District of Georgia, Atlanta Division
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 Prepared and presented by:

 /s/ Archie Irwin Grubb, II                       /s/ T. Joshua R. Archer
 with express permission by T. Joshua R. Archer   T. Joshua R. Archer
 Archie Irwin Grubb, II                           Georgia Bar No. 021208
 BEASLEY, ALLEN, CROW,                            BALCH & BINGHAM, LLP
 METHVIN, PORTIS & MILES, P.C.                    30 Ivan Allen Jr. Blvd. N.W., Suite 700
 P.O. Box 4160                                    Atlanta, Georgia 30308
 218 Commerce Street                              Telephone: (404) 261-6020
 Montgomery, Alabama 36103                        Facsimile: (404) 261-3656
 Telephone: (334) 269-2343                        jarcher@balch.com
 Facsimile: (334) 954-7555
 archie.grubb@beasleyallen.com                    Cavender C. Kimble
                                                  Georgia Bar No. 418816
 Attorney for Plaintiff                           BALCH & BINGHAM, LLP
                                                  1901 Sixth Avenue North, Suite 1500
                                                  Birmingham, Alabama 32501-0306
                                                  Telephone: (205) 226-3437
                                                  Facsimile: (205) 488-5860
                                                  ckimble@balch.com

                                                  E. Desmond Hogan (pro hac vice
                                                  application to be submitted)
                                                  Michelle Kisloff (pro hac vice
                                                  application to be submitted)
                                                  Allison Holt (pro hac vice application to
                                                  be submitted)
                                                  HOGAN LOVELLS US LLP
                                                  555 Thirteenth Street, N.W.
                                                  Washington, D.C. 20004
                                                  Telephone: (202) 637-5600
                                                  Facsimile: (202) 637-5910
                                                  desmond.hogan@hoganlovells.com
                                                  michelle.kisloff@hoganlovells.com
                                                  allison.holt@hoganlovells.com
Case 2:18-cv-03170-PSG-GJS Document 4-1 Filed 03/22/18 Page 4 of 4 Page ID #:35




                                       Vassi Ilidais (pro hac vice application to
                                       be submitted)
                                       HOGAN LOVELLS US LLP
                                       1999 Avenue of the Stars, Suite 1400
                                       Los Angeles, California 90067
                                       Telephone: (310) 785-4600
                                       Facsmilie: (310) 785-4601
                                       vassi.ilidis@hoganlovells.com

                                       Attorneys for Defendant Uber
                                       Technologies, Inc.
